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                        IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE


IMMERSION CORPORATION,

                          Plaintiff,                       C.A. No. 17-01081-RGA
               v.
                                                           JURY TRIAL DEMANDED
MOTOROLA MOBILITY LLC and

MOTOROLA MOBILITY HOLDINGS LLC,

                          Defendants.




                STIPULATION AND ORDER FOR EXTENSION OF TIME
                    TO SUBMIT PROPOSED PROTECTIVE ORDER

       WHEREAS Plaintiff Immersion Corporation and Defendants Motorola Mobility LLC and

Motorola Mobility Holdings LLC (hereafter referred to as “the Parties”) require additional time to

meet and confer regarding the terms of a proposed Protective Order;

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and

between the parties, through their undersigned counsel and subject to the approval of the Court,

that the deadline for the parties to submit a proposed protective order be extended to and

including January 23, 2018.
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Dated: January 12, 2018

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SO ORDERED this ____ day of January, 2018.


______________________________________________
The Honorable Richard G. Andrews
